                     Case 1:17-cr-00201-ABJ Document 449 Filed 11/02/18 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                                v.                             )      Case No.     17-cr-201-1 (ABJ)
                 PAUL J. MANAFORT, JR.,                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          UBS Bank USA                                                                                                 .


Date:          11/02/2018                                                             /s/ Stephanie L. Brooker
                                                                                         Attorney’s signature


                                                                                  Stephanie L. Brooker (#475321)
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